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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

   LEONA VICTORS (EMENYONU),                              *
   ET AL.                                        *
                                                 *
                   v.                            *        Civil No. JFM-07-2282
                                                 *
   WENDY A. KRONMILLER, ET AL.                   *
                                                 *
                                                 *
                                               *****

                                        MEMORANDUM

       On August 28, 2007, plaintiffs Leona Victors and Home Care, Inc. d/b/a Leona’s Heart

Assisted Living (“Home Care”) filed federal claims against defendants Wendy A. Kronmiller,

Jane Wessely, Barbara Shannon, and Ed Sadler, and state contract and tort claims against

defendant James F. Crosson. This case arises from Crosson’s sale of Home Care, an assisted

living facility in Greensboro, Maryland, to Leona Victors, and the subsequent problems with the

facility’s license and Medicaid waiver provider status. On March 6, 2008, I granted in part and

denied in part defendants’ motion to dismiss the federal claims, and denied defendant Crosson’s

motion to dismiss the state law claims.1 Defendants now move for summary judgment.2




       1
        In the March 6, 2008 Order, I dismissed Counts One and Two as to the “State
Defendants” on the grounds that 42 U.S.C. §§ 1981 and 1982 do not provide an independent
cause of action against state actors. See Victors v. Kronmiller, 553 F. Supp. 2d 533, 542-43 (D.
Md. 2008). Based on that ruling, I will also dismiss Counts One and Two as to defendant Sadler.

       2
         I previously granted plaintiffs’ motion for leave to file a sur-reply brief. Defendants
have filed a motion to alter or amend that judgment. The motion is denied as moot.

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                                             I. Facts3

       Home Care, Inc. was an assisted living facility located in Greensboro, Maryland, in

Caroline County. Defendant Crosson possessed an operating license for Home Care from the

Maryland Office of Health Care Quality (“OHCQ”) that was valid until December 11, 2006, and

a Medicaid waiver program provider number. During that time, Home Care was known as “Blue

Heron.” On April 24, 2006, defendant Crosson executed a purchase agreement to sell Home

Care to Victors. On June 9, 2006, Victors purchased the facility through a stock sale transaction.

Shortly after the purchase, Victors changed the name of the facility to Leona’s Heart Assisted

Living, and met with Upper Shore Aging representatives4 who told Victors she needed to apply

for a new license and a new Medicaid waiver provider number.

       Unbeknownst to Victors, on April 28, 2006, the Department of Health and Mental

Hygiene (“the Department”) had advised Crosson that he was required to notify the Department

if there was a change in ownership of Home Care, and that a new owner would need to apply for

a new license and Medicaid waiver number, as the existing ones were not transferable. Crosson

responded that Blue Heron was “not going through a change of ownership.” (Defs.’ Ex. 12.)5

The sale of Home Care was not disclosed to the Department until after closing.

       Also unbeknownst to Victors, in February 2006, OHCQ had conducted a survey at Blue

       3
         The facts are viewed in the light most favorable to plaintiffs. Given my dismissal of the
state law claims, I set forth here only the facts relevant to the federal claims.
       4
        Upper Shore Aging is the Area Agency on Aging, per the Older Americans Act,
responsible for certain counties in Maryland. It administers certain programs under Maryland
law and the Older Americans Act.
       5
       Unless otherwise noted, exhibit numbers reference the exhibits to the State Defendants’
Motion for Summary Judgment and Plaintiffs’ Opposition to State Defendants’ Motion for
Summary Judgment.

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Heron, with defendant Shannon as the lead surveyor. Defendant Kronmiller was the Director of

OHCQ, a position she had held only since October 2005. OHCQ is an office in the Department

“responsible for monitoring and inspecting assisted living programs to ensure compliance with

the regulatory requirements of this chapter.” (Defs.’ Ex. 1, Code of Maryland Regulations

(“COMAR”) 10.07.14.47(A), superseded effective Dec. 29, 2008.6) The regulations contain

extensive requirements for staffing, operations, and recordkeeping. Pursuant to the regulations,

the “Department may conduct unannounced or announced licensure or complaint investigation

visits.” Id. 10.07.14.47(C); see also id. 10.07.46(A) (stating that a facility “shall be open at all

reasonable times to announced or unannounced inspections by the Department and by any

agency designated by the Department”). If regulatory violations are identified during a visit,

“the Secretary shall issue a notice” that cites the violations, requires the program to submit an

acceptable plan of correction, and notifies the assisted living program that failure to correct the

violations may result in sanctions. Id. 10.07.14.46(D). The regulations make available a wide

variety of sanctions. Id. 10.07.14.48.

       During OHCQ’s February survey of Blue Heron, numerous violations were found,

including incomplete medical records, lack of proper training for employees, failure to report

resident abuse, inadequate safeguards to protect residents’ personal funds, failure to keep the

facility clean and free of insects and rodents, and lack of assist rails. (See Pls.’ Ex. 18.) Because

of the extent of the deficiencies, the Department created a “Directed Plan of Correction.” A draft

of the deficiency report was completed by March 2006, but was not released until June 21, 2006,


       6
        This opinion refers to the COMAR regulations concerning Assisted Living Programs,
contained in Title 10, Subtitle 17, Chapter 14, that were in effect during the events in this case.
On December 29, 2008, revisions to the assisted living regulations became effective.

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after Victors became the owner of the facility.

       Defendant Sadler had become the local Ombudsman for Caroline County and Talbot

County in December 2005, after serving as Case Manager in the Caroline County area. The

Ombudsman program is administered by Upper Shore Aging. The Ombudsman receives and

resolves complaints made by or for facility residents, educates consumers and care providers

about residents’ rights and good practices, provides information to the public, and promotes

community involvement. Under the regulations, the Ombudsman is required to refer to the

Department’s designated liaison any suspected violations of statutes or regulations that the

Ombudsman is unable to resolve. See COMAR 32.03.02.06(B). The Ombudsman position has

no authority in and of itself. Plaintiffs allege that Sadler rarely visited Blue Heron before Victors

became the owner, but visited daily beginning June 14, 2006. Plaintiffs allege that Sadler told

Victors, “You will not be allowed to practice in this county. You will be shut down.” (Pls.’ Ex.

5 ¶ 11.) Sadler also questioned Victors about her native country Nigeria. (Pls.’ Ex. 7 ¶ 2.)7

       A second survey was conducted from August 28, 2006, through September 1, 2006.8



       7
         An affidavit submitted in opposition to a motion for summary judgment must “set out
facts that would be admissible in evidence.” Fed. R. Civ. P. 56(e). Plaintiffs’ memoranda and
affidavits contain numerous statements that constitute inadmissible hearsay. (See, e.g., Pls.’
Mem. in Supp. of Opp’n to State Defs.’ Mot. for Summ. J. (“Pls.’ State Mem.”) 22 [Victors’s
recounting of Brown’s and Williams’s statements]; id. 23 [Victors’s recounting of Williams’s
statements]; id. 24 [Victors’s recounting of Sraver’s statements]; id. 34 [Smith’s recounting of
Thayer’s statements]; id. 36 n.20 [Victors’s recounting of statements by Fish]; id. 43 [Victors’s
recounting of statements by Williams]; id. 46 [Smith’s recounting of two employees’
statements].) I do not consider those statements in reaching my conclusions.
       8
         The regulations provide that the “Department, or those agencies delegated responsibility
under this regulation, have the authority to inspect an assisted living program more frequently
through follow-up surveys, if it is considered necessary to ensure compliance with this chapter or
for the purposes of investigating a complaint.” COMAR 10.07.14.47(F).

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During this visit, plaintiffs allege that Shannon told Sadler, “You and Jim take care of your end.

Wendy and I will take care of our end.” (Pls.’ Ex. 5 ¶ 12.) A second deficiency report and

Directed Plan of Correction was issued on September 25, 2006. Another survey was conducted

in November 2006, and another report was issued less than one month later, again listing

numerous deficiencies. A fourth survey was conducted in February 2007. Plaintiffs allege that

Shannon told Kronmiller while at the facility in February 2007, “I am not going to allow this

African to own this big facility. I have asked Ed to cover Jim’s side while we cover the OHCQ

part.” (Pls.’ Ex. 8 ¶ 9(h)). An OHCQ operating license was issued for Leona’s Heart without

conditions effective April 11, 2007. (Pls.’ Ex. R.)

       Defendant Wessely was chief of the Division of Waiver Programs, which administers the

Medicaid Older Adults Waiver (“OAW”). The Maryland Department on Aging oversees daily

administration of the OAW.9 Waiver programs “waive” certain federal requirements in order to

provide Medicaid-funded services in a community setting to individuals who meet the

requirements for institutional level of care. As a condition of providing federal Medicaid funds

for these services, the federal government requires that the Department ensure that the health and

safety of participants are protected and the federal funds are not misused. See 42 C.F.R. §

441.302; id. § 441.303. Facilities providing services to Medicaid waiver recipients must meet

state licensure requirements and comply with all regulations. See id. § 441.302(a)(2); id.

§ 441.310. A provider eligible to receive Medicaid reimbursement under the OAW is identified



       9
        Under the applicable regulations, “[i]n accordance with an interagency agreement, the
Department may delegate certain aspects of its monitoring, inspection, or waiver responsibilities
to the Department of Aging, the Department of Human Resources, or a local health department.”
COMAR 10.07.14.47(B).

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by the Department’s issuance of an individual account number. See COMAR 10.09.36.01B(13).

This number enables the provider to bill Medicaid for services rendered to OAW recipients.

       On June 20, 2006, Wessely referred Home Care to the Office of the Inspector General

due to reports from the Maryland Department of Aging regarding the misappropriation of

patients’ funds. Victors had been informed in June that she could use Crosson’s waiver number

temporarily until she obtained her own number, and was reminded again in July that she must

apply to be a waiver provider (Defs.’ Ex. 14), yet Victors did not complete an application for a

new number until August. On September 15, 2006, Wessely wrote a letter to plaintiffs, stating

that “due to your fraudulent billing, the Department is withholding Medicaid payments to you

for assisted living services under the Waiver for Older Adults.” (Pls.’ Ex. A.) On September 18,

2006, Wessely wrote that “you have billed Medicaid for waiver assisted living services utilizing

the Medicaid provider number that was assigned to the previous owner. These funds must be

returned to the department . . . . You are not a Medicaid provider and have fraudulently

submitted claims for Medicaid payment.” (Pls.’ Ex. B.) By September 19, 2006, the Maryland

Department of Aging had decided to relocate residents that wished to continue receiving waivers

to an approved waiver provider facility.10 Those residents were relocated from approximately


       10
          On September 20, 2006, Craig Gibson, the “Waiver Case Manager,” notified the
residents of Leona’s Heart that the facility was no longer a waiver provider. (Defs.’ Ex. 15.)
The letter stated that the residents were required to move if they wanted to stay in the waiver
program. The letter further provided:
        You do not have to stay in the Waiver program. If you decide to leave the program,
        you will lose your Waiver services. You may be able to get some of these services
        through regular Medicaid, but regular Medicaid will not pay for you to live in an
        assisted living home. This is your decision: whether you want to stay in the Waiver,
        continue receiving Waiver services, and move to a new home OR sign a paper that
        says you do not want to be in the Waiver anymore.
(Id.)

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September 29, 2006, to October 1, 2006.


                                      II. Standard of Review

       A motion for summary judgment will be granted when there is no genuine issue of

material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(c). The relevant inquiry is “whether the evidence presents a sufficient disagreement to

require submission to a jury or whether it is so one-sided that one party must prevail as a matter

of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986). A dispute about a

material fact is genuine “if the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Id. at 248. The substantive law of the cause of action determines which

facts are material. Id. “[N]either unsupported speculation, nor evidence that is merely colorable

or not significantly probative, will suffice to defeat a motion for summary judgment . . . .”

Bouchat v. Baltimore Ravens Football Club, Inc., 346 F.3d 514, 522 (4th Cir. 2003) (internal

quotation marks, alteration marks, and citations omitted).


                                         III. 1983 Claims

       Plaintiffs bring a Section 1983 claim against defendants Kronmiller, Wessely, Shannon,

and Sadler, alleging that under color of state law defendants deprived plaintiffs of due process of

law and equal protection of the law.11

                                         A. Due Process

       In order to state a procedural due process claim, plaintiffs must demonstrate that (1) they



       11
         Plaintiffs’ Section 1983 claim against Sadler is based only on a violation of the Equal
Protection Clause. (Pls.’ Opp’n to Def. Sadler’s Mot. for Summ. J. (“Pls.’ Sadler Mem.”) 16.)

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had a property interest (2) of which defendants deprived them (3) without due process of law.

Sylvia Dev. Corp. v. Calvert County, 48 F.3d 810, 826 (4th Cir. 1995). Property interests are

created not by the Fourteenth Amendment, but “by existing rules or understandings that stem

from an independent source such as state law.” Bd. of Regents of State Colls. v. Roth, 408 U.S.

564, 577 (1972). “[T]o have a property interest in a benefit, a person must have a ‘legitimate

claim of entitlement to it.’ A mere ‘abstract need or desire for it’ or ‘a unilateral expectation of

it’ is insufficient.” Tri-County Paving, Inc. v. Ashe County, 281 F.3d 430, 436 (4th Cir. 2002)

(quoting Roth, 408 U.S. at 577).


                1. Wessely

       Plaintiffs’ due process claim against defendant Wessely rests on two purported

constitutionally protected property interests related to the Medicaid waiver program: (1) the

facility’s existing Medicaid waiver provider agreement, and (2) “the Medicaid waiver residents

who would not be able to live at the facility but for the Older Adult Waivers Program.”12 (Pls.’

State Mem. 27.)

       Plaintiffs base their property interest in the facility’s Medicaid waiver provider

agreement on Victors’s purchase of the Home Care, Inc. stock. (Id.) They allege Wessely


       12
          Plaintiffs further claim that a constitutionally protected property interest was
permanently deprived when Home Care was “placed in a lifetime ban from the Older Adults
Waiver Program.” (Pls.’ State Mem. 29.) However, the exhibit cited in support of this
allegation is a memorandum from F. Warren Sraver, Manager of Older Adults Waiver, to
Wessely. Plaintiffs misleadingly characterize this memorandum as “Defendant Wessely’s
memorandum.” (Pls.’ Sadler Mem. 4.) The memorandum recommended that Home Care and
Blue Heron be disenrolled as a service provider and that “a lifetime ban on future participation in
the Older Adult Waiver . . . be implemented.” (Pls.’ Ex. H.) Plaintiffs fail to provide evidence
that this recommendation became effective or, if it did, that Wessely was involved in making that
decision.

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deprived them of this interest when Wessely sent a letter on September 15, 2006, withholding

Medicaid payments and stating Victors was not an approved Medicaid waiver provider, and a

letter on September 18, 2006, requesting repayment of waiver payments made to Victors’s

facility. (Pls.’ Exs. A & B.)

       The letters informed plaintiffs of their right to appeal that decision under COMAR

10.09.36.09. (Id.) This regulation provides:

       A. Providers filing appeals from administrative decisions made in connection with
       these regulations shall do so according to: (1) COMAR 10.01.03; (2) State
       Government Article, Title 10, Subtitle 2, Annotated Code of Maryland; and (3)
       Health-General Article, §§ 2-201-2-207, Annotated Code of Maryland.
       B. Appeals shall be filed within 30 days of receipt of notice of administrative
       decisions.

COMAR 10.09.36.09. Plaintiffs did appeal the decision and received a favorable decision from

the Administrative Law Judge. The Department then filed Exceptions to the ALJ’s decision.

After submission of the summary judgment briefings in this case, a designee of the Secretary of

the Department of Health and Mental Hygiene affirmed and modified the ALJ’s decision in a

“Final Decision” issued March 11, 2009. (Docket No. 73.) The parties have thirty days to

appeal the Final Decision to the Board of Review. (Id.)

       Plaintiffs essentially assert no unfairness in the procedure,13 but instead argue that the

department’s initial decision to withhold payment and request reimbursement was mistaken and

unsupported by the evidence. See Sylvia Dev., 48 F.3d at 827. However, as plaintiffs have

received all of the process to which they were entitled, and in fact used the procedures to obtain


       13
        Even if plaintiffs did argue that they were entitled to a predeprivation hearing, the
Fourth Circuit has found in the context of suspension of a provider’s participation in the
Medicare program that a prompt postdeprivation hearing is sufficient to satisfy due process. See
Ram v. Heckler, 792 F.2d 444, 447 (4th Cir. 1986).

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a favorable result, plaintiffs cannot make out a procedural due process claim as to their interest

in the Medicaid waiver provider agreement. See id.

        As to plaintiffs’ purported property interest in the waiver residents, plaintiffs posit that

the “facility’s claim as to the Medicaid waiver provider number also carries with it a claim to

the residents who depend on the waiver to live at the residence.” (Pls.’ State Mem. 27.) While I

question whether plaintiffs have identified a legitimate property interest, I need not reach that

issue because plaintiffs have failed to show that Wessely was personally involved in the decision

to remove the residents. It is clear that “[i]n order for an individual to be liable under § 1983, it

must be ‘affirmatively shown that the official charged acted personally in the deprivation of the

plaintiff’s rights.’” Wright v. Collins, 766 F.2d 841, 850 (4th Cir. 1985) (quoting Vinnedge v.

Gibbs, 550 F.2d 926, 928 (4th Cir. 1977)). Here, plaintiffs have failed to present evidence

showing that Wessely was “personally involved, directly or in a supervisory capacity, in the

deprivation of [plaintiffs’] federally protected rights.” Davis v. Dep’t of Social Servs. of

Baltimore County, 941 F.2d 1206, 1991 WL 157258, at *5 (4th Cir. Aug. 19, 1991) (unpublished

table op.).

        Plaintiffs not only fail to present evidence that Wessely was personally involved in

deciding to remove the residents, but the evidence indicates that Wessely was unaware of this

decision until after it was made. On September 6, 2006, Wessely wrote, “Can you please update

us? We did not know that there was a decision to move the waiver folks. Are you

recommending disenrollment?” (Pls.’ Ex. 25, at 2.) Maryam Baharloo responded, “We have to

move the clients because of all the problems with the quality of care provided and OHCQ’s

deficiency findings. Denise Williams suggested that we start looking for placements for the


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clients, OHCQ may deny the new owner’s application. Denise said that they were going to meet

today to discuss their findings and decide the next steps.” (Id. at 1.) Moreover, Wessely wrote,

“[W]hat is this about ‘new owner’?” implying that Wessely did not know by September 2006

that Crosson no longer owned Home Care. (Id.) Indeed, Victors admits that she has never met

Wessely or spoken to her. (Victors Dep. 192:14-193:1, May 15, 2008.) On September 19, 2006,

F. Warren Sraver, Manager of Waiver for Older Adults of the Maryland Department of Aging,

wrote to Kathleen Garson, Waiver Coordinator of Upper Shore Aging, stating, “Per your

conversation with Michelle Brown and in regard to the faxed copies of DHMH letters to Blue

Heron Assisted Living, the waiver participants who now reside at Blue Heron must be relocated.

DHMH has suspended all payments and Blue Heron is no longer an approved Waiver provider.”

(Pls.’ Ex. C.) Wessely was carbon-copied on this message, but was not mentioned as involved in

the decision-making process. Given the lack of evidence of Wessely’s involvement, I grant

summary judgment as to this claim.


       2. Shannon and Kronmiller

       Plaintiffs’ due process claim against defendants Shannon and Kronmiller arises from

plaintiffs’ alleged property interest in the facility’s OHCQ operating license.14 (See Pls.’ State

Mem. 29.) Plaintiffs admit that “the facility’s OHCQ license was never revoked.” (Id. 3.)


       14
         Plaintiffs allege that “Kronmiller and Shannon also caused the facility’s Medicaid
waiver provider number to be suspended by threatening to revoke the OHCQ operating license in
September 2006.” (Pls.’ State Mem. 30.) The only support plaintiffs provide is an e-mail from
Denise Williams, who is not a party in this case, to Wendy Kronmiller, discussing five major
areas of concern with Blue Heron. (Pls.’ Ex. D.) The e-mail notes that after Williams’s meeting
with Lester Brown and William Dorrill, “we have decided that we would do a revocation of
license for Leona’s Heart.” (Id.) The e-mail makes no reference to the Medicaid waiver
program.

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Instead, they claim Shannon and Kronmiller deprived them of this property interest when the

renewal of the facility’s OHCQ license was delayed. The license, which expired in December

2006, was not reissued until April 2007. (Pls.’ Ex. R.)

        On defendants’ motion to dismiss, I found that “[a]lthough plaintiffs complain about the

delay in Kronmiller’s providing the operating license, they do not allege that any rule or

regulation entitled them to receive the license any earlier, and thus do not plausibly allege a due

process violation.” Victors, 553 F. Supp. 2d at 547. Plaintiffs attempt to correct this by pointing

to the regulation in COMAR 10.07.14.06(A). (See Pls.’ State Mem. 29.) This regulation states

that to “obtain and maintain a license, an applicant shall meet all of the requirements of: (a) This

chapter; (b) Other applicable laws and regulations; and (c) Health-General Article, § 19-311,

Annotated Code of Maryland, if the program provides services to 17 or more residents.”

COMAR 10.07.14.06(A). It lists the application procedures, licensing fees, and documentation

that should be provided with the application. See id. This provision does not create an

entitlement for plaintiffs to receive their license any earlier, thus plaintiffs still fail to allege a

due process violation as to the OHCQ operating license.


                                        B. Equal Protection

        Plaintiffs assert equal protection claims against Kronmiller, Shannon, Wessely, and

Sadler, based on their allegedly selective enforcement of facially neutral regulations and policies.

To establish this type of equal protection claim, plaintiffs must show that (1) they have been

treated differently than others with whom they are similarly situated, and (2) the unequal

treatment resulted from intentional or purposeful discrimination. Morrison v. Garraghty, 239




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F.3d 648, 654 (4th Cir. 2001). Plaintiffs’ equal protection claims fail because they do not

establish sufficient facts showing that defendants treated them differently than those similarly

situated.


        1. Shannon

        Plaintiffs assert Shannon treated them differently than Crosson, the prior owner of

Victors’s facility, by 1) failing to release the deficiency report, drafted when Crosson was owner,

until June 2006, when Victors was owner; and 2) reporting deficiencies and problems, including

problems with resident funds, when Victors was the owner, but not when Crosson was the

owner. (Pls.’ State Mem. 30-36.)15 However, plaintiffs fail to substantiate that Shannon in fact

treated Crosson differently than Victors. Far from ignoring complaints about Crosson’s facility,

Shannon conducted a comprehensive survey in February 2006, while Crosson was owner, and

drafted a lengthy deficiency report and plan of correction. While defendants cannot explain why

the deficiency report was not released until June,16 the report itself was drafted before Victors

purchased Home Care, thus before any discriminatory intent could have arisen. As to the

problem with resident funds, plaintiffs provide no evidence that Shannon received the same

information regarding resident funds and did not act on it while Crosson was the owner. Indeed,

issues with resident funds were addressed in the deficiency report that was drafted while Crosson




        15
          While plaintiffs argued in previous filings that other facilities in the area were treated
differently by Shannon, Kronmiller, and Wessely, plaintiffs no longer make this argument as to
these defendants.
        16
         As plaintiffs recognize, there was a shortage of OHCQ surveyors; for 1,600 assisted
living programs, there were only twenty-four surveyors. (Pls.’ State Mem. 14.)

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was the owner. Moreover, Victors’s facility was the subject of an extensive Directed Plan of

Correction and OHCQ deficiency report, and any warning signs would understandably be taken

more seriously.17


       2. Kronmiller

       Plaintiffs rest their equal protection claim against Kronmiller on allegations that

Kronmiller knew of Shannon’s bias but did not take action, failed to remove Shannon as lead

surveyor, allowed Shannon to report false deficiencies, and delayed the licensing process. (Pls.’

State Mem. 40-45.) However, plaintiffs present no evidence or argument that Kronmiller treated

plaintiffs differently than similarly situated individuals. While plaintiffs assert generally that

when Crosson owned the facility, no licensure conditions were required and no deficiencies were

acted upon, plaintiffs fail to provide any evidence that Kronmiller was aware of deficiencies yet

chose to ignore them.


       3. Wessely

       For their equal protection claim against Wessely, plaintiffs assert that Wessely made no

effort to challenge the facility’s enrollment in the Medicaid waiver provider program while

Crosson owned the facility, even though Wessely knew there were problems with residents at

Blue Heron. (Pls.’ State Mem. 36-37.) Crosson is not similarly situated to plaintiffs in this


       17
          Plaintiffs’ evidence of intentional discrimination is also weak. Plaintiffs provide one
probative statement as to racial animus. Victors’s business partner, Keven Nlemchi, allegedly
heard Shannon tell Kronmiller that “I am not going to allow this African to own this big
facility.” (Pls.’ State Mem. 35.) I note, however, that this statement was revealed for the first
time in plaintiffs’ opposition to defendant’s motion for summary judgment. This statement was
not provided in the Complaint, in plaintiffs’ interrogatory responses, during discovery, or by
plaintiff Victors during her deposition.

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respect, however, because Crosson’s status as a Medicaid waiver provider was not in question.

Crosson was not a new owner of an assisted living facility. Moreover, the Department of Aging

took the position, before Victors purchased the facility, that the waiver provider agreement

would not transfer to a new owner. (Pls.’ Opp. to Def. Crosson’s Mot. for Summ. J., Ex. 11

(stating that if the facility was undergoing a change in ownership, Crosson must notify the

Department of Aging, because “the waiver number assigned to this facility is not transferable to

a different owner”) (emphasis in original).) There could have been no discriminatory intent by

defendants at that point, as Victors had not yet purchased Home Care.

       Plaintiffs also claim that Wessely reported misappropriation of clients’ funds while

Victors was the owner, but failed to report those same matters while Crosson was the owner.

However, it is purely speculative that Wessely had become aware of misappropriation of funds

prior to July 2006 yet failed to act. (See Pls.’ State Mem. 37-38.)


       4. Sadler

       For the equal protection claim against Sadler, plaintiffs also use Crosson as a

comparator.18 Plaintiffs claim that while Crosson owned Home Care, Sadler never made a report

to OHCQ, never questioned the facility’s use of a delegated nurse or available resources for the

residents, and did nothing about the borderline conditions at Blue Heron. The evidence shows,

however, that Sadler knew a deficiency report was being created by OHCQ, and that therefore

OHCQ was aware of the problems at Blue Heron. Moreover, Sadler had only become the


       18
          Plaintiffs allege there is evidence that Sadler “bypassed items at Leslie Ruhl’s assisted
living facility, Haven House, which he did not bypass for the Plaintiffs.” (Pls.’ Sadler Mem. 28.)
As plaintiffs support this allegation solely with self-serving hearsay, the use of Haven House as a
comparator will not be considered.

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Ombudsman in December 2005, and thus had not been in his position long before Victors

purchased the facility.

       Plaintiffs also assert that Sadler played a substantial role in having the Medicaid waiver

residents removed. Plaintiffs provide no support for this statement, and misleadingly cite to

exhibits which plainly contradict their assertion. Plaintiffs state that “Defendant Sadler was at

the facility arranging for the residents to be removed, against their wishes.” (Pls.’ Sadler Mem.

34; see also id. 24.) For this proposition, plaintiffs cite to Sadler’s deposition testimony, in

which Sadler denies being at the facility when the residents were removed, and to Renee Smith’s

affidavit, in which Smith states she does not remember Sadler being at the facility when the

residents were removed. (See Pls.’ Sadler Mem. 24, 34; Sadler Dep. 233:11-235:11; Pls.’ Ex. 14

¶ 20.) Even if they had provided evidence that Sadler was involved, they point to no similarly

situated facility that was treated differently by Sadler. Pure speculation will not suffice to

survive summary judgment.


                                          IV. Conspiracy

       Plaintiffs bring a civil conspiracy claim under 42 U.S.C. § 1985 against Kronmiller,

Shannon, Wessely, and Sadler. Plaintiffs allege that

       from the moment Sadler laid eyes on Ms. Victors, seeing an African American
       woman, he vowed to ‘shut down’ the facility. He passed the information on to
       Shannon (directly) and Wessely (indirectly) that an African American woman owned
       the facility and the two, sharing Sadler’s racial animus, joined the fray. Both
       Shannon and Wessely took extreme, unreasonable and completely opposite action
       against the facility versus their action, or inaction, when Crosson owned the facility.
       This sudden departure from the norm can only be explained by racial bias.

 (Pls.’ State Mem. 54.)

       42 U.S.C. § 1985(3) provides:

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        If two or more persons . . . conspire . . . for the purpose of depriving, either directly
        or indirectly, any person or class of persons of the equal protection of the laws, or of
        equal privileges and immunities under the laws . . . whereby another is injured in his
        person or property, or deprived of having and exercising any right or privilege of a
        citizen of the United States, the party so injured or deprived may have an action for
        the recovery of damages occasioned by such injury or deprivation, against any one
        or more of the conspirators.

To prove a civil conspiracy under § 1985(3), a plaintiff must show:

        (1) a conspiracy of two or more persons, (2) who are motivated by a specific class-
        based, invidiously discriminatory animus to (3) deprive the plaintiff of the equal
        enjoyment of rights secured by the law to all, (4) and which results in injury to the
        plaintiff as (5) a consequence of an overt act committed by the defendants in
        connection with the conspiracy.

Simmons v. Poe, 47 F.3d 1370, 1376 (4th Cir. 1995). Moreover, a plaintiff must show “an

agreement or a ‘meeting of the minds’ by defendants to violate the claimant’s constitutional

rights.” Id. at 1377. As the Fourth Circuit stated in the context of a Section 1983 conspiracy

case,

        [Plaintiffs] have a weighty burden to establish a civil rights conspiracy. While they
        need not produce direct evidence of a meeting of the minds, [plaintiffs] must come
        forward with specific circumstantial evidence that each member of the alleged
        conspiracy shared the same conspiratorial objective. In other words, to survive a
        properly supported summary judgment motion, [plaintiffs’] evidence must, at least,
        reasonably lead to the inference that [defendants] positively or tacitly came to a
        mutual understanding to try to accomplish a common and unlawful plan.

Hinkle v. City of Clarksburg, 81 F.3d 416, 421 (4th Cir. 1996) (internal citations omitted). The

Fourth Circuit has noted that “the law is well settled that merely conclusory allegations of

conspiracy, unsupported by a factual showing of participation in a joint plan of action, are

insufficient to support a section 1985(3) action against a motion for summary judgment.”

Simmons, 47 F.3d at 1376.

        Plaintiffs’ evidence of a conspiracy consists primarily of colleagues communicating with


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each other in the course of their jobs. For example, plaintiffs point to Wessely’s statement that

when a problem arose with a Blue Heron resident, Wessely wanted to bring together everyone

involved with the resident’s care – the Maryland Department of Aging, OHCQ, and Upper Shore

Aging – to work towards a resolution. (Pls.’ State Mem. 47; Wessely Dep. 88:11-89:7.) Far

from being evidence of a conspiracy, this statement simply indicates that agencies are

communicating with each other to resolve a problem. Tellingly, plaintiffs point to

communication between the defendants that occurred in March 2006, before Victors purchased

the facility and the alleged conspiracy began, as an example of conduct that “exemplifie[s]” this

sharing of information. (Pls.’ State Mem. 48.) Evidence that colleagues “pass information back

and forth between themselves” (id.) in the ordinary course of their jobs is not evidence that they

intended to commit an unlawful objective.

       Plaintiffs point to the timing and movements of the State Defendants’ actions as “too

coincidental” with the timing and movements of Sadler and Crosson.19 (Pls.’ State Mem. 49.)

But this evidence does not support an inference that defendants came to a mutual understanding

to achieve an unlawful plan. Not only is each act alleged by plaintiffs capable of an innocent

interpretation, but the evidence put forth by plaintiffs “amounts to nothing more than rank

speculation and conjecture. It does not reveal that any member of this alleged conspiracy

possessed an intent to commit an unlawful objective.” Hinkle, 81 F.3d at 422.

       Plaintiffs contend that the following two statements support a civil conspiracy: an

alleged statement by Shannon to Sadler, “You and Jim take care of your end. Wendy and I will



       19
        It is unclear why plaintiffs point to Crosson’s actions, as plaintiffs have not pled that
Crosson was part of this conspiracy. (Compl. Count Three, ¶ 99.)

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take care of our end,” and an alleged statement from Shannon to Kronmiller, “I have asked Ed to

cover Jim’s side while we cover the OHCQ part.” (Pls.’ State Mem. 51.) However, these

statements do not mention plaintiffs or indicate a meeting of the minds. There is no evidence

linking these statements to a conspiracy to purposefully discriminate against plaintiffs.

Plaintiffs’ mere speculation about the meaning of these statements is not competent evidence of

a conspiracy. See Hinkle, 81 F.3d at 422 n.3.

         In sum, plaintiffs present no evidence concerning Shannon, Kronmiller, Wessely, and

Sadler “that might give rise to an inference of an agreement to commit any acts, wrongful or

otherwise.” Id. at 422. Plaintiffs’ entire claim is “based upon a theory without proof,” and

plaintiffs’ “circumstantial evidence [is] probative of a conspiracy only through speculation and

the piling of inferences.” Id. at 423. At most, plaintiffs’ evidence shows that state agencies were

coordinating to address serious problems at Victors’s facility. Given the lack of any direct or

circumstantial evidence of an agreement to deprive plaintiffs of their constitutional rights, there

is insufficient evidence on the conspiracy claim to survive summary judgment.


                                       V. State Law Claims

       Plaintiffs bring three counts of state law claims against defendant Crosson. Because I am

granting summary judgment in favor of defendants on plaintiffs’ federal claims, I will not

exercise jurisdiction over Counts Five, Six, and Seven of the Complaint. See 28 U.S.C. 1367(c);

Gregory v. Otac, Inc., 247 F. Supp. 2d 764, 773 (D. Md. 2003); United Mine Workers v. Gibbs,

383 U.S. 715, 726 (1966) (“Certainly, if the federal claims are dismissed before trial . . . the state

claims should be dismissed as well”). The state law claims will be dismissed, without prejudice

to plaintiffs’ right to assert the claims in state court. See Maryland Rule 2-101(b).

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       For the foregoing reasons, I dismiss Counts One and Two as to defendant Sadler, and

Counts Five, Six and Seven as to defendant Crosson. I grant summary judgment in favor of

defendants Kronmiller, Wessely, Shannon, and Sadler on Counts Three and Four. Defendants’

motion to alter or amend judgment and strike plaintiffs’ sur-reply is denied as moot. A separate

order to that effect is being entered herewith.



April 8, 2009                                    /s/
                                              J. Frederick Motz
                                              United States District Judge




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